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                              UN ITED STATES DISTRICT COUR T
                              SOUTH ERN D ISTRJCT OF FLORD A


                                cxsExo.: A ï- Q.
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  UN ITED STA TES OF A M ERICA ,
                    Plaintiff,
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                                                              APPEA M NC E A S COUN SEL


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                        D efendant,
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  filesthistemporaryappearanceascounselfortheabovenameddefendantts)atinitialappearance.
  This appearance is m ade w ith the understanding thatthe undersigned counsel will1 1511any

  obligations im posed by the Court such as preparing and flling docum ents necessary to

  collateralize any personalsurety bond w hich m ay be set.

  Counsel'sName(Printed): f:ff3U1 YR c,c,x.J,!
  Counsel'sSignature:

  Address(includeCity/state/zipCode):
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